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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                Case No.: 1:20-cv-23287-DPG

 LUIS MANUEL RODRIGUEZ, et al.,              |
                                             |
               Plaintiffs,                   |
                                             |
        v.                                   |
                                             |
 IMPERIAL BRANDS PLC, et al.,                |
                                             |
               Defendants.                   |
                                             |

                                 NOTICE OF APPEARANCE

        Notice is hereby given that Ryan K. Todd of Nelson Mullins Broad and Cassel enters his

 appearance as counsel for Defendant, Imperial Brands PLC, in this action. All pleadings, papers,

 and correspondence in this matter should be served upon undersigned counsel at

 ryan.todd@nelsonmullins.com.

 Dated: August 28, 2020.                     Respectfully submitted,

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                                             By: /s/ Ryan K. Todd
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